Case No. 1:20-cr-00305-DDD        Document 496       filed 04/29/24    USDC Colorado      pg 1
                                           of 3




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


 Criminal Case No. 20-cr-00305-DDD-3

 UNITED STATES OF AMERICA

               Plaintiff,

 v.

 3. JONATHAN K. YIOULOS,

               Defendant.


        UNOPPOSED MOTION FOR DEFENDANT TO TRAVEL OUT OF STATE


        Defendant Jonathan Yioulos, by and through counsel, Richard K. Kornfeld of

 Recht Kornfeld, P.C., respectfully requests this Court enter an unopposed Order

 allowing Mr. Yioulos to travel to Miami, Florida for a family trip. In support of said

 Motion, Defendant states as follows:

        1.     On November 16, 2021, Mr. Yioulos entered a guilty plea to one count of

 wire fraud and one count of conspiracy to commit wire fraud, in violation of Title 18

 U.S.C. Sections 1343 and 1349. Mr. Yioulos cooperated with the government and

 testified against his co-defendants at their trial in early 2024. This Court will sentence

 Mr. Yioulos on September 17, 2024. Mr. Yioulos, who lives in the Buffalo, New York

 area, has been on pretrial release since his indictment, and has been fully compliant

 with all terms and conditions of that release.

        2.     As a condition of his release, Mr. Yioulos is required to obtain this Court’s

 permission to travel outside of the state of New York, except for court appearances.


                                               1
Case No. 1:20-cr-00305-DDD          Document 496     filed 04/29/24   USDC Colorado        pg 2
                                             of 3




           3.    Mr. Yioulos previously requested and was granted permission from this

 Court to travel with his family to Montego Bay, Jamaica from June 26 - July 2, 2024

 (Doc. nos. 485 and 487).

           4.    Mr. Yioulos and his family have decided to forgo their trip to Jamaica and

 instead hope to travel to Miami, FL from June 25 – July 1, 2024.

           5.    On April 29, 2024, undersigned counsel conferred with Assistant United

 States Attorney Bryan Fields, who indicated the government does not object to this

 travel.

           6.    Mr. Yioulos previously executed and filed a Waiver of Extradition (Doc.

 485-1).

           WHEREFORE, Defendant respectfully requests this Court enter an Order

 allowing him to travel to Miami, FL from June 25 – July 1, 2024. Should the Court wish

 to conduct a hearing on this Motion, Defendant respectfully requests that he be allowed

 to appear via VTC.



           Dated this 29th day of April, 2024.


                                             s/ Richard K. Kornfeld
                                             Richard K. Kornfeld
                                             RECHT KORNFELD, PC
                                             1600 Stout Street, Suite 1400
                                             Denver, CO 80202
                                             (303)573-1900
                                             rick@rklawpc.com
                                             Attorney for Defendant Yioulos

                                             I hereby certify that the foregoing pleading
                                             complies with the type-volume limitation set
                                             forth in Judge Domenico’s Practice Standard
                                             III(A)(1).

                                                 2
Case No. 1:20-cr-00305-DDD      Document 496       filed 04/29/24   USDC Colorado      pg 3
                                         of 3




                              CERTIFICATE OF SERVICE

        I hereby certify that on this 29th day of April, 2024, I electronically filed the
 foregoing with the Clerk of Court using the CM/ECF system which will send notification
 of such filing to the Court and the United States Attorney’s Office.



 s/ Erin Mohr
 Paralegal




                                             3
